Case 1:20-cr-10136-RGS Document 410 Filed 07/16/21 Page 1 of1

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA )
V. Criminal No. 20-10136-RGS-9
ANTONE JEREMIAH
DISMISSAL OF
ANTONE JEREMIAH FROM THE INDICTMENT
Pursuant to Fed. R. Crim. P. 48(a), the United States Attorney for the District of
Massachusetts hereby dismisses ANTONE JEREMIAH from the Indictment in this matter,
charging him with conspiracy to distribute and possess with intent to distribute cocaine and cocaine
base, in violation of 21 U.S.C. § 846. In support of this dismissal, the government states that the
dismissal is in the interests of justice.
Respectfully submitted,
1¥, Lo MeL Math

ate NATHANIEL R. MENDELL
Acting United States Attorney

a A

Timothy E. Moran
Kaitlin R. @’Donnell
Assistant U.S. Attorneys

Leave to File Granted:

 

RICHARD G. STEARNS, Judge
United States District Court
